Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 1 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 2 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 3 of 75
            Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 4 of 75



                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 CAROL ANDERSON                                :
                                               :
                      v.                       :
                                               : NO:
 ALLSTATE INSURANCE                            :
 COMPANY                                       :
                                               :

                                     NOTICE OF REMOVAL

       AND NOW, comes the defendant, Allstate Insurance Company, for the purpose only of

removing this case to the United States District Court for the Eastern District of Pennsylvania

and respectfully avers as follows:

       1.       This is a civil action filed and now pending in the Court of Common Pleas of

Lehigh County, Pennsylvania, Docket No: 2018-C-24.

       2.       The action was initiated in the aforementioned court by the filing of a Complaint

on January 3, 2018. (A true and correct copy of the complaint is attached hereto as Exhibit “A.”)

       3.       Defendant, Allstate Insurance Company, was served with the Complaint on

January 10, 2018.

       4.       The averments made herein are true and correct with respect to the date and time

upon which suit was commenced and the date upon which this notice is being filed.

       5.       This suit is of a civil nature. Plaintiff’s complaint alleges that she is a resident and

citizen of the Commonwealth of Pennsylvania, with her residence located at 3665 Station

Avenue #14, Center Valley, Pennsylvania 18034. See Exhibit “A”. Plaintiff does not allege any

alternative state of residence. Accordingly, upon information and belief, the Commonwealth of
             Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 5 of 75



Pennsylvania is the state in which plaintiff is domiciled and, therefore, the state of which plaintiff

is a citizen for purposes of determining diversity.

        6.       Allstate Insurance Company, is now, and was at the time plaintiff commenced this

action and filed her complaint, a corporation organized under the laws of the State of Illinois with

its principal place of business at 2775 Sanders Road, Northbrook, IL 60062; therefore, defendant

is a citizen of Illinois for purposes of determining diversity. See 28 U.S.C. § 1332(c)(1).

        7.       Defendant, Allstate Insurance Company, has simultaneously with the filing of this

notice, given written notice to plaintiff.

        8.       Defendant, Allstate Insurance Company, is also filing a copy of the instant notice

of removal and all attachments thereto with the Prothonotary of the Court of Common Pleas of

Lehigh County.

        9.       The Complaint asserts breach of contract and bad faith pursuant to 42 Pa.C.S.A.

§ 8371. The amount in controversy is listed as to each count of the Complaint in excess of

$50,0001.

        10.      In her bad faith claim, pursuant to 42 Pa. C.S.A. §8371, plaintiff seeks in addition

to compensatory damages, interest upon the amount of the contract claim against defendant at

prime rate plus six percent, punitive damages, attorney’s fees and costs.

        11.      Defendant seeks to remove this matter to the United States District Court for the

Eastern District of Pennsylvania. Defendant asserts that the amount in controversy in this matter

exceeds $75,000. As the moving party, defendant bears the burden of proving that jurisdiction is

proper in federal court. Russ vs. State Farm Mut. Auto. Ins. Co., 961 F.Supp. 808, 810 (E.D. Pa.


1
  Moreover, defense counsel contacted plaintiff’s counsel to determine if plaintiff would be willing to
stipulate to capping damages at $75,000 to avoid removal of the matter to this Court. Plaintiff’s counsel
advised that plaintiff was not willing to do so.
           Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 6 of 75



1997).

         12.   In determining whether the jurisdiction amount has been satisfied, the Court must

first look at the Complaint. Angus vs. Shiley, Inc., 989 F.2d 142, 145 (3rd Circ. 1993).

         13.   The underlying lawsuit as alleged in the Complaint arises out of defendant’s

handling of a property damage claim to plaintiffs’ property located at 3665 Station Avenue #14,

Center Valley, Pennsylvania 18034, for a loss that occurred on or about March 16, 2017.

         14.    There is no specific assertion as to the amount in controversy set forth in

plaintiff’s complaint, except to aver that the amount in controversy is “at least $43,400.” See ¶28

of Complaint, Exhibit “A.”

         15.   With reference to her bad faith claim pursuant to 42 Pa. C.S.A.§8371, plaintiff

pleads damages in excess of $50,000, and alleges that she will seek attorney’s fees. These

damages must also be included in determining the amount in controversy. Neff vs. General

Motors Corp., 163 F.R.D. 478, 482 (E.D. Pa. 1995). It would not be unreasonable to expect that

over the course of an approximate six month litigation, counsel could incur costs and fees in an

amount approaching $10,000.

         16.   In addition, it is anticipated that plaintiff will also seek punitive damages pursuant

to 42 Pa. C.S.A. §8371. Whether both actual and punitive damages are recoverable, punitive

damages are properly considered in determining whether the jurisdictional amount has been

satisfied. Bell vs. Preferred Life Assurance Soc’y, 320 U.S. 238, 240, 88 L. Ed. 15, 64 S. Ct. 5

(1943). The contractual amount in controversy alleged in the Complaint is in excess of $50,000

based on the allegations in the Complaint, coupled with estimated reasonable attorneys’ fees, and

if plaintiff is able to sustain a finding of bad faith, although the propriety of same is disputed by

moving defendant, it is not unreasonable to expect that a punitive damage award five or six times
         Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 7 of 75



the amount in controversy could be rendered by the trier of fact.

       WHEREFORE, Defendant, Allstate Insurance Company, hereby removes this suit to

this Honorable Court pursuant to the laws of the United States in such cases made and provided.



                                             BENNETT, BRICKLIN & SALTZBURG LLC



                                      By:
                                             LAURA E. KERNS, ESQUIRE
                                             Attorney I.D. No. 87021
                                             6000 Sagemore Drive, Suite 6103
                                             Marlton, NJ 08053
                                             (856) 673-3470
                                             Email: kerns@bbs-law.com
                                             Attorney for Defendant,
                                             Allstate Insurance Company
         Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 8 of 75




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 CAROL ANDERSON                              :
                                             :
                     v.                      :
                                             : NO:
 ALLSTATE INSURANCE                          :
 COMPANY                                     :
                                             :

                                             NOTICE
TO:    Scott E. Schermerhorn, Esquire
       The Ritz Building
       222 Wyoming Avenue
       Scranton, PA 18503

       PLEASE TAKE NOTICE that defendant, Allstate Insurance Company, has filed in this
Court a verified Notice for Removal of the State Court action, Carol Anderson v. Allstate
Insurance Company, now pending in the Court of Common Pleas of Lehigh County,
Pennsylvania, Case No: 2018-C-24.
       PLEASE TAKE FURTHER NOTICE that a certified copy of the Notice of Removal will
be filed with the Prothonotary of the Court of Common Pleas of Lehigh County, Pennsylvania.
       PLEASE BE ADVISED that by virtue of 28 U.S.C. §1446(f), the State action is now
removed to this Court. The State Court has no further jurisdiction over this action and you
should proceed no further in that Court or under its authority.
                                              BENNETT, BRICKLIN & SALTZBURG LLC



                                      By:
                                              LAURA E. KERNS, ESQUIRE
                                              Attorney I.D. No. 87021
                                              6000 Sagemore Drive, Suite 6103
                                              Marlton, NJ 08053
                                              (856) 673-3470
                                              Email: kerns@bbs-law.com
                                              Attorney for Defendant,
                                              Allstate Insurance Company
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 9 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 10 of 75
           Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 11 of 75




                                            AFFIDAVIT

          I, Laura E. Kerns, Esquire, being duly sworn according to law, do hereby depose and state

that I am the attorney for Defendant, Allstate Insurance Company, the Petitioner in the foregoing

Notice of Removal, that I have been duly authorized by the Petitioner to execute this Affidavit,

that I am familiar with the facts involved in this matter, and that the allegations set forth in the

foregoing Notice of Removal are true and correct to the best of my knowledge, information and

belief.




                                               ________________________________________
                                               LAURA E. KERNS, ESQUIRE



DATE:        February 7, 2018
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 12 of 75




EXHIBIT “A”
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 13 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 14 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 15 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 16 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 17 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 18 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 19 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 20 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 21 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 22 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 23 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 24 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 25 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 26 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 27 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 28 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 29 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 30 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 31 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 32 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 33 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 34 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 35 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 36 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 37 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 38 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 39 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 40 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 41 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 42 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 43 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 44 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 45 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 46 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 47 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 48 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 49 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 50 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 51 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 52 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 53 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 54 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 55 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 56 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 57 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 58 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 59 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 60 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 61 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 62 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 63 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 64 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 65 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 66 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 67 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 68 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 69 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 70 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 71 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 72 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 73 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 74 of 75
Case 5:18-cv-00534-HSP Document 1 Filed 02/07/18 Page 75 of 75
